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IN THE UNITED sTATEs DISTRICT coURT
FoR TI-IE wEs'rERN DISTRICT oF TENNESSEE 05 AUG -3 AH 8: 52
wEs'rERN DIvIsION
THO?¢A$ M.G.GU
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V~E OF T:’\L e‘-.»?ZS£F%HS

DAFFN'E'Y THOMAS,

Plaintiff,
v. Nb. 04-2314-M1/v
CIT'Y OF MEMPHIS, et al.,

Defendants.

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ORDER GRANTING IN PART AND DENYING IN PART HOTION TO DISMISS OF
DEFENDANT CITY OF MEMPHIS
ORDER GRANTING MOTION TO DISMISS OF DEFENDANTS SHELBY COUNTY
GOVERNMENT, MAYOR A.C. WHARTON' AND SHERIFF MARK LUTTRELL
ORDER DENYING MOTION TO DISMISS OF DEFENDANT JERRY KING
AND
ORDER GRANTING MOTION TO DISMISS OF DEFENDANT LIEUTENANT MICHAEL
JEFF CLARK

 

Before the Court are the following motions: the motion to
dismiss of Defendants Shelby County Government, Mayor A.C.
Wharton, and Sheriff Mark Luttrell, filed September 15, 2004; (2)
the motion to dismiss of Defendant Lieutenant Michael Jeff Clark,
filed September 20, 2004; (3) the motion to dismiss of Defendant
City of Memphis, filed October 18, 2004; and (4) the motion to
dismiss of Defendant Jerry King,l filed December 22, 2004.
Plaintiff only filed a response to the September 15, 2004, motion
to dismiss of Defendants Shelby County Government, Mayor A.C.

Wharton, and Sheriff Mark Luttrell. That response was filed on

 

1 Defendant Jerry King’s motion is entitled as a motion to
dismiss and/or in the alternative for summary judgment.

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with Hule 58 and/or 79{a) FRCP on ' '

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November 1, 2004. The Court will rely on the arguments raised in
the November l, 2004, response to the extent they are relevant in
resolving the motions to dismiss before the Court. For the
following reasons, the Court GRANTS in part and DENIES in part
the motion to dismiss of Defendant City of Memphis; GRANTS the
motion to dismiss of Defendants Shelby County Government, Mayor
A.C. Wharton, and Sheriff Mark Luttrell; DENIES the motion to
dismiss Of Defendant Jerry King; and GRANTS the motion to dismiss
of Defendant Lieutenant Michael Jeff Clark.

I . BACKGROUN'D

This case arises out of Plaintiff’s allegations that
Defendants failed to maintain a smoke free environment in the
workplace in violation of a City of Memphis Ordinance prohibiting
smoking in public buildings and thereby deprived Plaintiff of her
constitutional and statutory rights. According to the
allegations in Plaintiff’s Complaint, Plaintiff is employed as an
officer with the Memphis Police Department (“MPD”) and has been
employed as an MPD officer for approximately twelve years.

On or about July 25, 2001, Plaintiff was given a temporary
assignment to the Auto Theft Division of the MPD, which was
located in the Criminal Justice Complex at 201 Poplar Avenue in
Memphis, Tennessee. Upon commencing her assignment at the Auto
Theft Division, Plaintiff noticed the smell of cigarettes in the
upper floors of the Criminal Justice Complex. She subsequently

learned that smoking was openly permitted in the stairwells on

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the 8th-l3th floors as well as in the offices of the Auto Theft
Division and Project Safe Neighborhood Department. Plaintiff
further alleges that non-smoking signs did not deter officers,
employees, and others from openly smoking in non-ventilated
rooms, stairwells, restrooms and other locations; that on any
given day at the Criminal Justice Complex, cigarette butts were
visible in plastic and paper containers in the stairwells, on
windowsills, on the floor, and near utility pipes; that
overwhelming amounts of smoke drifted from stairwells into
offices through air vents; that supervisors smoked in small
offices with complete disregard for the health concerns of
individuals that did not smoke; that her immediate supervisor,
Lt. Michael Jeff Clark, disregarded the smoking ordinance and MPD
policy and procedure by smoking in a small unventilated room; and
that high-ranking officials at the MPD did not protect the rights
of non-smokers at the Criminal Justice Complex despite the fact
that they knew of the above activity and knew of the smoking
ordinance.

Plaintiff alleges that, from some point in 2001 until May of
2003, she “was exposed to extreme amounts of second hand smoke.”
(Pl.’s Compl. I 23.) Plaintiff subsequently began to experience
physical effects as a result of that exposure that allegedly
included but were not limited to: “(l) aggravation of allergies
once seasonal now constant and ongoing; (2) onset of asthmatic

condition; (3) constant wh[ee]zing; (4) atrill fibrillation; (5)

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decreased lung capacity: (6) restrictive airways disease; (7)
restrictive and concomitant obstructive lung disease and (8)
depression and anxiety.” (Pl.'s Compl. I 22.)

On August 26, 2002, Plaintiff was transferred out of the
Auto Theft Division to the Project Safe Neighborhood Department
on the llth floor of the Criminal Justice Complex. The room at
the Project Safe Neighborhood Department to which she was
transferred was allegedly smaller than the room in which she
worked at the Auto Theft Division. Plaintiff alleges that four
of the six people assigned to the Project Safe Neighborhood
Department, including Lt. Clark, smoked in the office. Plaintiff
further alleges that Lt. Clark smoked in complete disregard of
the Plaintiff's communications concerning her respiratory
ailments.

Plaintiff placed a bid in February of 2003 to transfer to
the West Precinct after experiencing severe asthma attacks, heart
palpitations, wheezing, and decreased lung capacity. Plaintiff,
however, ultimately decided not to move to the West Precinct
after she observed on at least two occasions that the precinct
had similar problems concerning supervisors that smoked in non-
smoking areas. On March 3, 2003, Lt. Clark asked Plaintiff why
she made a bid for placement in the West Precinct. After
informing Lt. Clark “that she was leaving because the cigarette
smoke was killing her,” Lt. Clark replied “‘its [sic] like that

huh.'” (Pl.’s Compl. I 28.)

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After making a bid to transfer to the West Precinct,
Plaintiff bid for placement in the MED A shift. Inspector Jerry
King, who Plaintiff alleges supervised the Auto Theft Division
and Project Safe Neighborhood Department and allegedly often
visited the office and witnessed violations of the ordinance,
asked Plaintiff why she made a bid for placement in the MED.
Plaintiff responded by informing Inspector King that she sought
to be moved to a non-smoking location. Plaintiff also requested
an accommodation for an office or area where there was little or
no smoke. Inspector King allegedly refused to make such an
accommodation.

Plaintiff alleges that as her physical condition worsened,
she was forced to seek the help of doctors to obtain placement in
a non-smoking environment. In particular, Dr. David Holloway of
the Stern Cardiovascular Center wrote a letter describing
Plaintiff's need to work in a smoke-free environment.2 After
receiving these letters, Inspector King allegedly failed to
enforce the smoking ordinance and did not place Plaintiff in a
smoke-free environment. On April 17, 2003, Dr. Walter Rentrop
wrote a note stating that Plaintiff needed to be transferred to a
non-smoking area due to her recurrent bronchitis and asthma.

Moreover, on April 29, 2003, Dr. Barbara Geater wrote in

 

2 Plaintiff alleges that Dr. Holloway wrote two separate letters
on March 6, 2003, and April 16, 2003, describing her need to work in a
smoke-free environment. Although Plaintiff attached to her Complaint
as unmarked exhibits two letters written by Dr. Holloway, both
letters are dated April 16, 2003, and one of them was addressed to
Plaintiff.

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Plaintiff’s on the job injury report that:
Ms. Thomas had recurrent bronchitis and was being
evaluated for asthma. She is to be in a smoke free
environment - which should not be a problem since 201
Poplar is supposed to be a smoke free building. Second
hand smoke is a health issue for everyone, but is even
more of a problem for people with bronchitis or asthma.
(Pl.’s Compl. L 33.) After receiving Dr. Geater’s report, Lt.
Clark allegedly continued to violate the smoking ordinance.
Plaintiff subsequently filed this lawsuit alleging claims
under: (l) 42 U.S.C. § 1983 for the deprivation of her rights
under the First, Fifth, and Fourteenth Amendments of the United
States Constitution and under the Americans with Disabilities Act
(“ADA”), 42 U.S.C. § 12101 et seq., and the Rehabilitation Act,
29 U.S.C. § 701, et seq.; (2) 42 U.S.C. §§ 1985 and 1986; and (3}
separate claims under the ADA and Rehabilitation Act.3 Plaintiff
seeks damages and declaratory and injunctive relief.
II. STANDARD OF REVIEW
Under Federal Rule of Civil Procedure 12(b)(6), a defendant
may move to dismiss the plaintiff's complaint “for failure to
state a claim upon which relief can be granted.” Fed. R. Civ. P.
12(b)(6). When considering a Rule 12(b)(6) motion to dismiss, a
court must treat all of the well-pleaded allegations of the

complaint as true, Saylor v. Parker Seal Co., 975 F.2d 252, 254

(6th Cir. 1992), and must construe all of the allegations in the

 

3 For the purpose of this motion, the Court will analyze the ADA
and Rehabilitation Act claims in the section discussing Plaintiff‘s
Claims brought under 42 U.S.C. § 1983.

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light most favorable to the plaintiff. Scheuer v. Rhodes, 416
U.S. 232, 236 (1974). “A court may dismiss a complaint only if
it is clear that no relief could be granted under any set of
facts that could be proved consistent with the allegations.”
Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).
III. ANAL'YSIS

The Court will analyze Defendants' respective motions to
dismiss in turn.

A. Motion to Dismiss of Defendant City of Memphis
Defendant City of Memphis moves to dismiss Plaintiff's
Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6).

As an initial matter, Defendant moves to dismiss all of
Plaintiff's claims as time-barred under the relevant statute of
limitations. With the exception of Plaintiff's Rehabilitation
Act claim, which will be later addressed, the Court finds that,
even assuming that Plaintiff’s other claims are timely, those
claims must nonetheless fail for the reasons stated below.
1. 42 U.S.C. 5 1983

Section 1983 does not create substantive rights, but rather
serves as a “method for vindicating federal rights elsewhere
conferred.” Baker v. McCollan, 443 U.S. 137, 144, n.3 (1979).
To establish a prima facie case under § 1983, a plaintiff must
prove two elements: (1) that the government action occurred
“under color of law” and (2) that the action is a deprivation of

a constitutional right or federal statutory right. Parratt v.

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Taylor, 451 U.S. 527, 535 (1981); Block v. Ribar, 156 F.3d 673,
677 (6th Cir. 1998). “The first step in any such claim is to
identify the specific constitutional right allegedly infringed.”
Albright v. Oliver, 510 U.S. 266, 271 (1994). Plaintiff claims
that Defendants violated her rights pursuant to the First, Fifth,
and Fourteenth Amendments of the United States Constitution and
pursuant to the ADA and Rehabilitation Act.
a. First Amendmant
Plaintiff alleges that by violating the smoking ordinance
and disregarding the health concerns of subordinate employees,
all of the Defendants “placed a restraint upon freedom of speech
for fear of retaliation in violation of the lst Amendment to the
United States Constitution.” (Pl.’s Compl. I 41.) Defendant
City of Memphis contends that Plaintiff has failed to state a
claim of First Amendment retaliation. In order to establish a
First Amendment retaliation claim, Plaintiff must show:
(1) that she was engaged in a constitutionally
protected activity; (2) that the defendant's adverse
action caused the plaintiff to suffer an injury that
would likely chill a person of ordinary firmness from
continuing to engage in that activity; and (3) that the
adverse action was motivated at least in part as a
response to the exercise of the plaintiff's
constitutional rights.
Strouss v. Michigan Dept. of Corr., 250 F.3d 336, 345-46 (6th
Cir. 2001). Moreover, because Plaintiff is a public employee,

she must also show the following to demonstrate that her speech

was protected:

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First, the employee must show that her speech touched
on matters of public concern. Second, the employee's
interest in commenting upon matters of public concern
must be found to outweigh the interest of the State, as
an employer, in promoting the efficiency of the public
services it performs through its employees.

Id. at 345-46 (internal citations and quotation marks omitted).

If Plaintiff's speech does not touch on a matter of public

concern, then no further inquiry is required. Banks v. Wolfe

County Bd. Of Educ., 330 F.3d 888, 892-93 (6th Cir. 2003).

Speech that touches on a matter of public concern is that

which relates to “any matter of political, social, or other

concern to the community.” Connick v. Myers, 461 U.S. 138, 146
(1983). Speech by a public employee that concerns matters only

of personal interest, however, generally does not receive
constitutional protection. §gnk§, 330 F.3d at 893 (internal
quotation marks omitted) (citing Connick, 461 U.S. at 147).
“Whether an employee's speech addresses a matter of public
concern must be determined by the content, form, and context of a
given statement, as revealed by the whole record.” Connick, 461
U.S. at 147-48. Generally, speech addresses “matters of public
concern when it involves issues about which information is needed
or appropriate to enable the members of society to make informed
decisions about the operation of their government.” §apk§, 330
F.3d at 893 (internal quotation marks omitted).

Applying the above considerations to the instant case, the
Court finds that Plaintiff has not alleged a claim of First

Amendment retaliation. In her Complaint, Plaintiff alleges two

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specific statements she made to her supervisors concerning the
issue of second-hand smoke. First, Plaintiff responded to an
inquiry by Lt. Clark regarding her reasons for placing a bid to
the West Precinct by stating “that she was leaving because the
smoke was killing her.” (Pl.'s Compl. I 28.) Next, Plaintiff
responded to an inquiry by Inspector King concerning her reasons
for placing a bid to the MED by stating that she sought to be
moved to a non-smoking location and by requesting an
accommodation to an office or area where there was little or no
smoke.

Plaintiff's statements do not touch on a matter of public
concern. In particular, Plaintiff's statements do not relate to
“any matter of political, social, or other concern to the
community.” Connick, 461 U.S. at 146. Instead, they address a
matter of only personal interest - namely, her desire to be moved
to a non-smoking location. _ee Smith v. Fruin, 28 F.3d 646 (7th
Cir. 1994) (finding plaintiff police officer's complaints about
smoking in the workplace and employer’s failure to comply with
city ordinance prohibiting smoking in enclosed public places did
not constitute speech on a matter of public concern because
complaints were personal in nature, as plaintiff spoke solely on
his own behalf and in support of his own interest). The Court
therefore finds that Plaintiff has failed to allege that she
engaged in constitutionally protected activity. Accordingly, the

Court DISMISSES Plaintiff's claim of First Amendment retaliation.

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b. Fifth Amendment
Defendant moves to dismiss Plaintiff's Fifth Amendment claim
on the basis that the Fifth Amendment only applies to conduct of
the Federal Government. The Court finds the Defendant’s argument
well taken and accordingly DISMISSES Plaintiff's Fifth Amendment
claim,
c. Fourteenth Amendment
Plaintiff alleges that all of the Defendants violated the
due process and equal protection clauses of the Fourteenth
Amendment of the United States Constitution. In particular,
Plaintiff alleges that Defendants violated Plaintiff's
substantive due process rights by denying her liberty/property
interest in her contract with the City of Memphis Police

Department by failing to comply with the smoking ordinance.4 In

 

4 Plaintiff, in the section of her Complaint entitled “Prayer For
Relief,” also alleges that Defendants denied Plaintiff her rights
under Federal law by excluding her from providing services as a police
officer in the same manner as other police officers employed by the
Defendants, “and by making the decision to exclude plaintiff through
procedures lacking in due process and in total contradiction to the
reasoned judgment of the medical profession, County public health
authorities and national public health authorities in general.”

(Pl.'s Compl. L 68.)

To the extent that Plaintiff is alleging a Fourteenth Amendment
procedural due process claim, that claim is DISMISSED, as Plaintiff
has not alleged what specific procedures utilized by Defendant City of
Memphis were purportedly lacking in due process. §§§ Silvernail v.
County of Kent, 385 F.3d 601, 604 (6th Cir. 2004) (“To state a claim
for a violation of procedural due process under 42 U.S.C. §§ 1983,
plaintiffs must show that they were deprived of a liberty or property
interest, and that the procedures afforded to protect that interest
were insufficient under the balancing test of Mathews v. Eldridge, 424
U.S. 319, 96 S.Ct. 893, 47 L.Ed.2d 18 (1976)”) (internal citations
omitted).

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addition, Plaintiff alleges that Defendants violated the Equal
Protection Clause because they did not provide employees who had

respiratory illnesses with the same employment opportunities as

other employees.

With respect to Plaintiff's substantive due process claim,

the United States Court of Appeals for the Sixth Circuit has held

that:

Most, if not all, state-created contract rights, while
assuredly protected by procedural due process, are not
protected by substantive due process. The substantive
Due Process Clause is not concerned with the garden
variety issues of common law contract. Its concerns are
far narrower, but at the same time, far more important.
Substantive due process affords only those protections
so rooted in the traditions and conscience of our
people as to be ranked as fundamental....

State-created rights such as [an employee's]
contractual right to promotion do not rise to the level
of fundamental interests protected by substantive due
process. Routine state-created contractual rights are
not deeply rooted in this Nation’s history and
tradition, and, although important, are not so vital

that neither liberty nor justice would exist if [they]
were sacrificed.

Charles v. Baesler, 910 F.2d 1349, 1353 (6th Cir. 1990) (internal
quotation marks and citations omitted). Based on the above
holding in Baesler, the Court DISMISSES Plaintiff's substantive
due process claim,

The Court next addresses Plaintiff's equal protection claim,

The Equal Protection Clause provides that no state shall “deny to

 

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any person within its jurisdiction the equal protection of the
laws.” U.S. CONSL amend. XIV, § 1. “‘To state a claim under the
Equal Protection Clause, a § 1983 plaintiff must allege that a
state actor intentionally discriminated against the plaintiff
because of membership in a protected class' or burdened a
fundamental right.” Midkiff v. Adams County Reg’l Water Dist.,
409 F.3d 758, 770 (6th Cir. 2005) (quoting Purisch v. Tennessee
Tech. Univ., 76 F.3d 1414, 1424 (6th Cir. 1996)). Upon review of
the allegations in Plaintiff's Complaint, the Court finds that
Plaintiff has not stated a claim for relief under the Equal
Protection Clause. In particular, Plaintiff has not alleged
facts demonstrating that Defendant City of Memphis intentionally
discriminated against Plaintiff due to her membership in any
protected class or that any recognized fundamental right was
burdened. Accordingly, the Court DISMISSES Plaintiff's claims
brought pursuant to the Fourteenth Amendment.
d. Americans with Disabilities Act

Defendant City of Memphis moves to dismiss Plaintiff's claim
under the ADA because Plaintiff did not exhaust her
administrative remedies. A Plaintiff bringing suit under the ADA
must exhaust her administrative remedies prior to filing her
complaint. Parry v. Mohawk Motors of Michiganl Inc., 236 F.3d
299, 309 (6th Cir. 2000). Because Plaintiff has not alleged in

her Complaint that she filed a charge of discrimination with the

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Equal Employment Opportunity Commission concerning her ADA claim,
the Court DISMISSES this claim.5
e. Rehabilitation Act

Defendant contends that Plaintiff's Rehabilitation Act
claim must be dismissed because it is time-barred. In actions
brought under § 1983, state law governs the duration of the
statute of limitations, however, the issue of when the statute
begins to run is determined by federal law. Sharpe v. Cureton,
319 F.3d 259, 266 (6th Cir. 2003). Under Tennessee law, there is
a one year statute of limitations for § 1983 claims. Tenn. Code.
Ann. § 28-3-104(a)(3). Generally, the statute of limitations
begins to run on “the date when the plaintiff knew or through the
exercise of reasonable diligence should have known of the injury
that forms the basis of his action.” ld; This is an objective
test whereby the Court determines “‘what event should have
alerted the typical lay person to protect his or her rights.’”
id4

Defendant contends that Plaintiff should have known of her
injury in February of 2003, when she purportedly began to suffer
severe asthma attacks, heart palpitations, wheezing, and
decreased lung capacity. Because Plaintiff did not file her
Complaint until April 29, 2004, Defendant contends that her

Rehabilitation Act claim is barred by the one-year statute of

 

5 Accordingly, the Court also DISMISSES Plaintiff's separate ADA
claim.

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limitations. Plaintiff, on the other hand, contends that
Defendants' conduct constituted a continuing violation so as to
toll the applicable statute of limitations.

The statute of limitations defense is an affirmative defense
for which Defendant bears the burden of proof. Upon review of
Plaintiff's Complaint and construing all of the allegations in
the light most favorable to the Plaintiff, the Court finds that
there may be a set of facts which could be proved consistent with
the allegations showing that Plaintiff's Complaint was timely.
Accordingly, the Court DENIES, without prejudice, Defendant's
motion to dismiss Plaintiff's Rehabilitation Act claim.6

2. 42 U.S.C. §§ 1985 and 1986

Defendant next moves to dismiss Plaintiff's claims brought
under 42 U.S.C. §§ 1985 and 1986. Section 1985(3) prohibits a
conspiracy “for the purpose of depriving either directly or
indirectly, any person or.class of persons of the equal
protection of the laws or of equal privileges and immunities
under the laws.” 42 U.S.C. § 1985(3). In order to establish a §
1985(3) claim, Plaintiff must show:

(1) a conspiracy; (2) for the purpose of depriving,
either directly or indirectly, any person or class of
persons of the equal protection of the laws, or of
equal privileges or immunities of the laws; (3) an act
in furtherance of the conspiracy; (4) whereby a person
is either injured in his person or property or deprived

of any right or privilege of a citizen of the United
StateS.

 

6 Defendant may reassert this defense at the summary judgment
stage.

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Radvanskv v. CitV of Olmsted Falls, 395 F.3d 291, 314 (6th Cir.
2005) (internal quotation marks omitted). Plaintiff contends
that Defendants conspired to deny her the equal protection of the
laws based on the fact that she was disabled. Plaintiff,
however, cannot state a claim under § 1985(3) because that
statute does not cover claims of disability-based discrimination.
Bartell v. Lohiser, 215 F.3d 550, 559 (6th Cir. 2000). In
addition, the Court similarly concludes that Plaintiff's § 1986
claim must also fail. gee Haverstick Enter.. Inc. v. Fin. Fed.
Creditl Inc., 32 F.3d 989, 994 (6th Cir. 1994) (holding § 1986
designed to punish individuals who aid and abet violations of §
1985 and when there is no violation of § 1985, there can be no
violation of § 1986). Accordingly, the Court DISMISSES
Plaintiff's §§ 1985 and 1986 claims.

B. Motion to Dismiss of Defendant Shelby County

Government. Mayor A.C. Wharton, and Sheriff Mark
Luttrell

Defendants Shelby County Government, Mayor A.C. Wharton, and
Sheriff Mark Luttrell move to dismiss Plaintiff's Complaint
pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure
to state a claim upon which relief can be granted. Defendants
first contend that the Complaint should be dismissed because all
of Plaintiff's claims are time-barred under the relevant statute
of limitations. The Court finds, however, that even assuming
that Plaintiff's claims are timely, those claims must nonetheless

fail for the reasons discussed below.

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Defendants move to dismiss Plaintiff's claims against Mayor
A.C. Wharton and Sheriff Mark Luttrell. In particular,
Defendants contend that these individual Defendants appear to be
sued in their official capacities and that because Shelby County
Government is already named as a Defendant, the claims against
Mayor Wharton and Sheriff Luttrell should be dismissed.
Plaintiff's Complaint does not specify whether Mayor Wharton and
Sheriff Luttrell are named in their individual or official
capacities.

Under the Eleventh Amendment of the United States
Constitution, suits brought pursuant to § 1983 against a state
and/or state employees in their official capacities are barred,
unless the state has waived immunity or Congress has abrogated
the state's immunity pursuant to section 5 of the Fourteenth
Amendment. Shepherd v. Wellman, 313 F.3d 963, 967 (6th Cir.
2002) (citing Will v. Michigan Dept. of State Police, 491 U.S.
58, 66 (1989)). Therefore, § 1983 Plaintiffs must “set forth
clearly in their pleading that they are suing the state

defendants in their individual capacity for damages, not simply

their capacity as state officials.” Wells v. Brown, 891 F.2d
591, 593 (6th Cir. 1989). “Where no explicit statement appears

in the pleadings, this Circuit uses a ‘course of proceedings'
test to determine whether the § 1983 defendants have received
notice of the plaintiff's intent to hold them personally liable.”

Shepherd, 313 F.3d at 967-68 (citing Moore v. City of Harriman,

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272 F.3d 769, 772 (6th Cir. 2001) (en banc)). In employing this
test, courts consider the nature of Plaintiff's claims. requests
for compensatory or punitive damages, and the nature of any
defenses that are raised in response to the complaint -
specifically, claims of qualified immunity. Mgg;§, 272 F.3d at
772 n.l. In addition, courts also consider whether subsequent
pleadings place the defendants on notice of the capacity under
which he or she is sued. ida

Employing the “course of proceedings test,” the Court in
Mgg;e found that sufficient notice was provided to the relevant
officers that they were being sued in their individual capacities
despite the fact that the caption in the complaint only listed
the individual officers’ names and not their official titles.
ld; at 773. In particular, the Court noted that the officers
were referred to as “the individual defendants” throughout the
complaint. ld; Moreover, the complaint stated that the officers
were “acting for themselves and for the City” and sought
compensatory and punitive damages against “each of the

defendants.” Moore, 272 F.3d at 773. In addition, the Court

 

found that the plaintiff’s response to the Defendant officers’
motion to dismiss “clarified any remaining ambiguity” when it
stated that the individual police officers were being sued in
their individual capacities. lgy at 774.

In the instant case, the Court finds that Plaintiff's

Complaint did not place the individual Defendants on notice that

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they were being sued in their individual capacities. Instead, it
appears that the mayor and sheriff are being sued in their
official capacities. This conclusion is supported by the fact
that the Complaint alleges that Defendant Mayor A.C. Wharton “is
the chief executive officer/mayor of Shelby County, Tennessee,”
and that Defendant Sheriff Mark Luttrell “is charged with the
duty and responsibility of managing the Shelby County Sheriff's
Office and its various departments.” (Pl.'s Compl. II 10-11.)

In addition, while the Complaint is silent with respect to the
capacity under which Mayor Wharton and Sheriff Luttrell are being
sued, it specifically alleges that two Memphis Police Department
officers are being sued in their official and individual
capacities. Moreover, the Complaint only requests punitive
damages from the aforementioned Memphis Police Department
officers.

Although there are indications that Mayor Wharton and
Sheriff Luttrell are being sued in their individual capacities -
namely, that the Complaint seeks compensatory damages resulting
from injuries caused by the “actions of the defendants and each
of them” and a declaratory judgment that “defendants and each of
them have violated Federal law,” the Court finds that Plaintiff's
response to Defendants' motion to dismiss clarifies any remaining
ambiguity. Mgg;§, 272 F.3d at 774. Specifically, Plaintiff's
response to Defendants' motion to dismiss states that Plaintiff

is not precluded from filing claims “against Defendant[s] Wharton

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and Luttrell in their official position.” (Pl.'s Obj. to Mot. to
Dismiss, Nov. 1, 2004, (Docket No. 15), at 1.) The Court
therefore finds that Mayor Wharton and Sheriff Luttrell are being
sued in their official capacities. Because Shelby County
Government is already a named Defendant in this suit, the Court
accordingly DISMISSES Plaintiff's claims against Mayor A.C.
Wharton and Sheriff Mark Luttrell. See Kentuckv v. Graham, 473
U.S. 159, 166 (1985) (finding that so long as government entity
received notice and opportunity to respond, official capacity
suit treated as a suit against the entity).

Defendants next move to dismiss Plaintiff's claims against
Defendant Shelby County Government because the claims alleged in
Plaintiff's Complaint are directed toward Defendant City of
Memphis. Plaintiff contends, however, that Defendant Shelby
County Government is liable to Plaintiff because it purportedly
refused to enforce a City of Memphis ordinance prohibiting
smoking in public buildings in derogation of its duty to
Plaintiff as lessor and occupier of the building where she was
exposed to second-hand smoke - namely, the Criminal Justice
Complex at 201 Poplar Avenue in Memphis, Tennessee. Plaintiff
also alleges that the close relationship between Defendant Shelby
County Government and the Memphis Police Department created a
code of silence regarding certain violations of the law and

further caused the Defendant to breach its duty to Plaintiff.

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The Court finds that, at best, these contentions allege a
claim for negligence against Defendant Shelby County Government.
Mere negligence, however, cannot establish the basis for
municipal liability under § 1983.7 Memphisl Tennessee Area
Local, Am. Postal Workers Union v. Citv of Memphis, 361 F.3d 898
(6th Cir. 2004) (citing Daniels v. Williams, 474 U.S. 327, 330
(1986)). Plaintiff therefore cannot assert claims for the
deprivation of her rights under the First, Fifth,8 and Fourteenth
Amendments and under the ADA and Rehabilitation Act9 as a result
of Defendant's alleged negligent conduct. Moreover, because
Plaintiff cannot assert a § 1985(3) claim for disability-based
discrimination, Plaintiff's §§ 1985 and 1986 claims must also
fail. §§§ Lohiser, 215 F.3d at 559-60; Haverstick Enter. Inc.

____-______I__!

32 F.3d at 994.

 

7 In addition, the Court notes that a violation of state law
cannot support a § 1983 cause of action. Otworth v. Vanderploeg, 61

Fed. Appx. 163, 166 (6th Cir. Mar. 19, 2003) (citing Flagg Bros. v.
Brooks, 436 U.S. 149, 155-57 (1978)).

3 Plaintiff's due process and equal protection claims brought
pursuant to the Fifth Amendment against Defendant Shelby County
Government would also fail because that Amendment applies to conduct
of the Federal Government. Sturgell v. Creasy, 640 F.2d 843, 850 (6th
Cir. 1981).

9 Plaintiff would also be precluded from bringing claims against
Defendant Shelby County Government under the ADA and Rehabilitation
Act because Plaintiff alleges she was employed by the City of Memphis.
rather than Defendant Shelby County Government and such suits must be
brought against an employer as defined in Title VII. §§g Hiler v.
Brown, 177 F.3d 542, 547 (6th Cir. 1999) (holding individuals who do
not meet definition of “employer” under Title VII are not personally
liable under Rehabilitation Act).

Moreover, having dismissed Plaintiff's ADA and Rehabilitation Act
claims brought pursuant to § 1983, the Court similarly DISMISSES
Plaintiff's separate ADA and Rehabilitation Act claims.

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The Court accordingly GRANTS the Motion of Defendants Shelby

County Government, Mayor A.C. Wharton, and Sheriff Mark Luttrell

to Dismiss and DISMISSES all of Plaintiff's claims against these

Defendants.10

C. Motions to Dismiss of Defendants Jerry King and
Lieutenant Michael Jeff Clark

1. Defendant Jerry King

Defendant Jerry King moves to dismiss Plaintiff's Complaint
pursuant to Federal Rule of Civil Procedure 4(m) for failure to
timely serve process upon the Defendant. In addition, Defendant
moves to dismiss for lack of personal jurisdiction,11
insufficiency of process, and insufficiency of service of process
pursuant to Federal Rule of Civil Procedure 12(b)(2), 12(b)(4),
and 12(b)(5), respectively.

Plaintiff filed her Complaint in the instant lawsuit on

April 29, 2004. A summons was issued to Defendant King on August

 

w In her response to Defendants' motion to dismiss, Plaintiff
sought leave to amend her Complaint to “more fully set forth the
nexus between the actions and duty of the County to the plaintiff and
others similarly situated.” (Pl.'s Mem. in Supp. of Obj. to Mot. to
Dismiss, Nov. 1, 2004, (Docket No. 16), at 4-5.) Pursuant to Rule
15(a) of the Federal Rules of Civil Procedure, a party may amend its
pleading after a responsive pleading is served only by leave of the
court. In deciding whether to grant leave to amend, the trial judge
may consider such factors as undue prejudice to the opposing party,
undue delay in filing, and futility of the amendment. Head v. Jellico
Hous. Auth., 870 F.2d 1117, 1123 (6th Cir. 1989).

Because the Court finds that Plaintiff's proposed amendment
would not affect its determination regarding Plaintiff's claims and
would therefore be futile, the Court DENIES Plaintiff leave to file an
amended complaint.

n Defendant specifically contends that the Court lacks personal
jurisdiction over him because he was not properly served by Plaintiff
under the Federal Rules of Civil Procedure.

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27, 2004. On September 6, 2004, service of process was attempted
on Defendant. (Aff. Of Janet Rogers I 3, attached as unnumbered
exhibit to Mot. of Def. Jerry King to Dismiss and/or in the Alt.
for Summ. J.) Specifically, a copy of the summons and complaint
was left at Defendant’s home with Ms. Janet Rogers. (Id. LL 4-
5.) Ms. Rogers informed the process server that the Defendant
was out of town and that she did not reside at Defendant's
address. (Id. § 4.) To date, the record reflects that no return
of service has been filed with the Court.
Federal Rule of Civil Procedure 4(m) provides that:
If service of the summons and complaint is not made
upon a defendant within 120 days after the filing of
the complaint. the court, upon motion or on its own
initiative after notice to the plaintiff, shall dismiss
the action without prejudice as to that defendant or
direct that service be effected within a specified
time; provided that if the plaintiff shows good cause
for the failure, the court shall extend the time for
service for an appropriate period. This subdivision
does not apply to service in a foreign country pursuant
to subdivision (f) or (j)(l).
Fed. R. Civ. P. 4(m).
In the instant case, Plaintiff filed her Complaint on April
29, 2004. Service was then attempted on Defendant on September
6, 2004, which was more than 120 days after the filing of the
Complaint. However, in her response to the September 15, 2004,
motion to dismiss of Defendants Shelby County Government, Mayor
A.C. Wharton, and Sheriff Mark Luttrell, Plaintiff asserted that

her failure to serve process on the Defendants within 120 days

was for good cause. (Pl.'s Mem. of Law in Supp. of Obj. to Mot.

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to Dismiss, Nov. 1, 2004, (Docket No. 16), at 7.) Plaintiff also
sought leave to serve Defendant. (Id.) The Court finds that
Plaintiff has demonstrated good cause for her failure to serve
Defendant under Rule 4(m).12 Pursuant to that rule, the Court
accordingly grants Plaintiff an additional forty-five (45) days
to effect service upon Defendant King. Because the Court has
granted Plaintiff additional time to effect service upon
Defendant, Defendant’s motion to dismiss is DENIED.

2. Defendant Lt. Clark

Defendant Lieutenant Michael Jeff Clark (“Lt. Clark”) also
moves to dismiss Plaintiff's Complaint pursuant to Federal Rule
of Civil Procedure 4(m). In particular, Defendant contends that
he did not receive service of the summons until August 30, 2004,
which was more than 120 days after Plaintiff filed her Complaint
on April 29, 2004. However, for the reasons described above, the
Court finds that Plaintiff has demonstrated good cause for her
failure to timely serve the Defendant. Accordingly, pursuant to
Rule 4(m), the Court extends the time for Plaintiff to serve
Defendant such that Plaintiff's prior service on Lieutenant Clark
shall be considered timely. Accordingly, the Court DENIES Lt.

Clark's motion to dismiss pursuant to Rule 4(m).

 

n In a separate case before the Court, Green v. City of Memphisl
et al., No. 03-2991, filed Dec. 31, 2003, Plaintiff's counsel filed an
in Camera statement that the Court finds satisfies the good cause
requirement contained in Rule 4(m) . Plaintiff should submit to the
Court the in camera statement filed in Green so that it may be filed
in the record of the instant case,

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Lt. Clark next moves to dismiss all of Plaintiff's claims
pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure
to state a claim upon which relief can be granted. The Court
DISMISSES Plaintiff'S § 1983 claims against Lt. Clark for the
deprivation of rights under the First, Fifth, and Fourteenth
Amendments of the United States Constitution and under the ADA,13
as well as Plaintiff's §§ 1985 and 1986 claims, for the same
reasons it dismissed those claims against Defendant City of
Memphis. (§ee §gp;a Section III. A.) Moreover, because Lt.
Clark is not an “employer”14 as defined under Title VII,
Plaintiff's § 1983 claim against him for deprivation of rights
under the Rehabilitation Act must also fail. §gg §il§r, 177 F.3d

at 547 (holding individuals who do not meet definition of

 

13 Accordingly, the Court also DISMISSES Plaintiff's separate ADA

claim against Lt. Clark.
M Title VII defines an “employer” as:

[A] person engaged in an industry affecting commerce who has
fifteen or more employees for each working day in each of
twenty or more calendar weeks in the current or preceding
calendar year, and any agent of such a person, but such term
does not include (1) the United States, a corporation wholly
owned by the Government of the United States, an Indian
tribe, or any department or agency of the District of
Columbia subject by statute to procedures of the competitive
service (as defined in section 2102 of Title 5), or (2) a
bona fide private membership club (other than a labor
organization) which is exempt from taxation under section
501(c) of Title 26, except that during the first year after
March 24, 1972, persons having fewer than twenty-five
employees (and their agents) shall not be considered
employers.

42 U.S.C. § 2000€(b)

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“employer” under Title VII are not personally liable under
Rehabilitation Act).15

Therefore, for the foregoing reasons, the Court GRANTS
Defendant’s motion to dismiss pursuant to Federal Rule of Civil
Procedure 12(b)(6) and DISMISSES all of Plaintiff's claims
against Defendant Lt. Michael Jeff Clark.

IV. CONCLUSION

For the foregoing reasons, the Court GRANTS in part and
DENIES in part Defendants' motions to dismiss.

The Court GRANTS in part and DENIES in part the motion to
dismiss of Defendant City of Memphis. In particular, the Court
DISMISSES Plaintiff's First, Fifth, and Fourteenth Amendment and
ADA claims brought under 42 U.S.C. § 1983. The Court also
DISMISSES Plaintiff's separate ADA claim as well as Plaintiff's
claims brought under 42 U.S.C. §§ 1985 and 1986. The Court,
however, DENIES, without prejudice, Defendant’s motion to dismiss
Plaintiff's Rehabilitation Act claim.

The Court GRANTS the motion to dismiss of Defendants Shelby
County Government, Mayor A.C. Wharton, and Sheriff Mark Luttrell
and DISMISSES all of Plaintiff's claims against those Defendants.
The Court also GRANTS Defendant Lt. Michael Jeff Clark’s Motion
to Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6)

and DISMISSES all of Plaintiff's claims against Lt. Clark.

 

w Accordingly, the Court also DISMISSES Plaintiff's separate

Rehabilitation Act claim against Lt. Clark

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Finally, the Court DENIES Defendant Jerry King’s motion to

dismiss pursuant to Federal Rule of Civil Procedure 4(m).

So ORDERED this g day of August, 2005.

em@d

P. MCCALLA
ITED STATES DISTRICT JUDGE

 

  

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This notice confirms a copy of the document docketed as number 29 in
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Honorable J on McCalla
US DISTRICT COURT

